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UNHED STATES 1315ch COURT SoUTHERN DISTRICT oF TEXAS

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Conference Memorandum

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Civil Action 7/(57 ' 2/78 19

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Date: ¥Ql§((/O\~f)/ §J 9\© LO Reporter: W
Startcci: lU -' O y Endecl; lO 3 ®

At the conference, these rulings Were made:

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l`?’;l)fUULF'~/ i‘i\ 9\@!(?. gmi/ran §`l-€€l€ may/la `l`ai/CH? a /(t)f/W”@i'l€
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l:l Order to be entered.

l:l Trialpreparation to be completed by: , zOI___.
E A Pretrial conference is set for: “"CO CHW\» on FQb\'Uo-Y\(,J` 14 , zoIO_.
l:| A hearing is set for: on , zoI__
l::l A trial is set for : On , 201_

|:] Bench |:l lury (Estimatecl time at 55 hours a clay ).

l:l joint Pretrial Grcler clue: , zoI__
l:| Internal review deadline , 201

 

`_‘-§-§"Q\O€i_.__,_\
Lynn N. Hughes
Unitecl States District]uclge

